Case 1:17-cr-00121-MAC-ZJH           Document 121         Filed 01/31/18   Page 1 of 1 PageID #:
                                            317




 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                           §
                                                    §
 versus                                             §   CASE NO.1:17cr121-3
                                                    §
 JHONANNA RAMOS                                     §


      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for

 the administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his

 findings of fact and report and recommendation on the defendant’s guilty plea. The magistrate

 judge recommended that the Court accept defendant’s guilty plea. He further recommended that

 the Court finally adjudge defendant as guilty on Count One of the Indictment. The parties have

 not objected to the magistrate judge’s findings.

          The Court accepts the findings in the report and recommendation. The Court ORDERS

 that Judge Giblin’s report (#114) is adopted. The Court accepts the defendant’s guilty plea but

 defers acceptance of the plea agreement and plea agreement addendum until after review of the

 presentence report. It is finally ORDERED that defendant, Jhonanna Ramos, is adjudged guilty

 on Count One
          . of the Indictment charging a violation of Title 21, United States Code, Section 846.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
            SIGNED at Beaumont, Texas, this 31st day of January, 2018.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
